                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                            SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
       v.                                             No. 19-5054-01-CR-SW-RK

ADAM RAY LEE,

                       Defendant.


               UNITED STATES' MOTION FOR PRETRIAL DETENTION
                      PURSUANT TO 18 U.S.C. § 3142(e) and (f)

       The United States of America, through Timothy A. Garrison, United States Attorney for

the Western District of Missouri, and by the undersigned Assistant United States Attorney requests

pretrial detention pursuant to 18 U.S.C. §§ 3142 (e)(3)(E), (f)(1)(A), (f)(2)(A), and (f)(2)(B). This

Court has set a pretrial detention hearing for November 6, 2019, and at this hearing, the evidence

will demonstrate that no condition or combination of conditions of release will reasonably assure

the defendant's appearance as required by the Court and the safety of other persons and the

community.

                                     Supporting Suggestions

1. 18 U.S.C. §§ 3142(f)(1)(A) provides that a hearing must be held by the appropriate judicial

   officer to determine whether any condition or combination of conditions will reasonably assure

   the defendant's appearance and the safety of any other person in the community if the attorney

   for the Government moves for such a hearing and if the case is one that involves an offense

   involving a minor or a crime of violence as defined in 18 U.S.C. §§ 3156(a)(4)(C), which

   includes the offenses of sexual exploitation in violation of 18 U.S.C. § 2251(a), coercion and

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   enticement of a minor in violation of 18 U.S.C. § 2422(b), transportation of a minor across

   state lines for sexually explicit activity in violation of 18 U.S.C. § 2423(a), and receipt and

   distribution of child pornography in violation of 18 U.S.C. § 2522(a)(2).

2. The statute recognizes two additional situations which allow for a detention hearing and which

   can be raised either by the attorney for the Government or by a judicial officer. These

   conditions are:

   a. When there is a serious risk that the defendant will flee; or,

   b. When there is a serious risk that the person will "obstruct or attempt to obstruct justice, or
      threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate, a prospective
      witness or juror." 18 U.S.C. § 3142(f)(2)(A) and (B).

3. One or more grounds for pretrial detention and a pretrial detention hearing as set forth by the

   statute exists in the above cause, to wit: this matter involves the sexual exploitation of a minor

   coercion and enticement of a minor, transportation of a minor, and receipt and distribution of

   child pornography. Further, there is a serious risk that the defendant’s release will present a

   substantial risk to the community.

4. The crimes alleged in the Indictment require the Court to consider a rebuttable presumption

   that no condition or combination of conditions set forth in 18 U.S.C. § 3142(c) will reasonably

   assure the appearance of the defendant as required and the safety of other persons and the

   community. 18 U.S.C. § 3142(e)(3)(E).

5. Moreover, the nature and circumstances of the charged offenses, the weight of the evidence,

   the defendant’s history and characteristics, and the nature and seriousness of the danger to any

   person or the community that would be posed by the defendant’s release, each demonstrate

   that there is no condition or combination of conditions set forth in 18 U.S.C. § 3142(c) that

   will reasonably assure the appearance of the defendant as required and the safety of other
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   persons and the community.

6. The Government is aware of the following evidence:

   a. In relation to the nature and circumstances of the offenses charged, On June 18, 2018, D.T.

       reported to the Dayton, Kentucky, Police Department (DPD) that his 15-year-old daughter,

       Jane Doe, was missing. On August 1, 2018, Aurora, Missouri, Police Department (APD)

       Officer Christopher Kozisek received a request for assistance based upon information law

       enforcement received that Jane Doe was with the defendant, Adam Ray Lee, a 24-year-old

       male, who resided in Aurora, Missouri. Officers attempted to contact Lee at his residence,

       but no one answered the door. On August 2, 2018, at approximately 6:30 a.m., Officer

       Kozisek and APD Officer Fowler responded to Lee’s residence. After knocking on the

       door, Lee answered. Post-Miranda, Lee explained that Jane Doe was with his grandparents

       in Lawrence County, near Mount Vernon. Lee stated that he took Jane Doe there the

       previous night after law enforcement had come to his residence. Lee also stated that he

       and Jane Doe had sexual intercourse once while at his residence, and he used a condom.

       Lee confirmed that he met Jane Doe on Meetme.com over a year ago. Jane Doe was located

       at Lee’s grandparent’s residence and transported to the Child Advocacy Center of

       Southwest Missouri, where she was interviewed by Cassie Meier. Jane Doe disclosed that

       Lee picked her up over a month ago from Kentucky and brought her back to Missouri. Jane

       Doe described various sexual activity that she and Lee engaged in. On the same date,

       Officer Kozisek obtained a search warrant for Lee’s residence, from the Lawrence County

       Circuit Courts, and officers seized an HP laptop computer.           Homeland Security

       Investigations (HSI) and SMCCTF TFO James Smith concluded a forensic examination of

       the devices on May 13, 2019. On Lee’s HP laptop computer, TFO Smith located multiple
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       videos and images of Jane Doe, including of Jane Doe nude and close-ups of her vagina.

       Some of the images of Jane Doe were sent to Lee via the Internet, prior to her arrival in

       Missouri. TFO James also located 16 folders in Lee’s Dropbox. The folders were names

       of individuals that contained numerous videos and images of child erotica and child

       pornography.



       WHEREFORE, the United States requests a pretrial detention hearing and that Defendant

be detained pending trial.

                                            Respectfully submitted,

                                            Timothy A. Garrison
                                            United States Attorney

                                    By      /s/ Ami Harshad Miller
                                            Ami Harshad Miller
                                            Assistant United States Attorney
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                                            Springfield, Missouri 65802



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on November
6, 2019, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.


                                            /s/ Ami Harshad Miller
                                            Ami Harshad Miller
                                            Assistant United States Attorney




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